        Case 1:21-cr-02032-SMJ      ECF No. 22     filed 10/07/21   PageID.66 Page 1 of 4




 1                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 2                         The Honorable Salvador Mendoza, Jr.
 3   United States of America,                          No. 1:21-cr-2032-SMJ
 4                                    Plaintiff,        Unopposed Motion to Continue
 5                                                      Trial and to Set a New Pretrial
             v.                                         Conference and Related Trial
 6                                                      Deadlines
     Thomas Alex Morrison, Jr.,
 7                                                      Without Oral Argument
                                  Defendant.            October 19, 2021, 6:30 p.m.
 8
 9           The defendant, Thomas Alex Morrison, Jr., hereby moves this Court to continue
10
     the trial in his case to February 14, 2022, with a new pretrial conference date of January
11
12   19, 2022. Mr. Morrison further moves the Court to issue an amended case management

13   order with new deadlines, including extending the deadline to file pretrial motions. The
14   United States does not oppose this motion and does not oppose continuing the trial
15
     date.
16
17           The United States filed an indictment on August 10, 2021. Mr. Morrison

18   appeared for arraignment on September 1, 2021. The Court appointed the Federal
19   Defenders Office to represent him, and undersigned counsel entered a Notice of
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     Appearance on September 2, 2021. The Court has since scheduled a pretrial conference
21
22   for October 19, 2021, and a trial date of November 8, 2021, both in Yakima.

23           Mr. Morrison acknowledges that any continuance would be excludable for
24   purposes of the Speedy Trial Act, and counsel will file a signed statement of reasons in
25
     connection with this motion. Due to ongoing restrictions on in-person client meetings




     Unopposed Motion to Continue Trial and Set New Deadlines: 1
        Case 1:21-cr-02032-SMJ       ECF No. 22      filed 10/07/21   PageID.67 Page 2 of 4




 1   due to the COVID pandemic, counsel has reviewed the statement of reasons with Mr.
 2   Morrison telephonically and received consent to sign on his behalf.
 3
            Defense counsel has contacted Assistant U.S. Michael Murphy regarding this
 4
     motion, and the Government has no objection to the requested continuance.
 5
 6          The instant motion constitutes Mr. Morrison’s first request for a continuance.
 7   Mr. Morrison is requesting this continuance to give defense counsel adequate time to
 8
     review discovery, perform relevant investigation, research factual and legal defenses to
 9
     the charges, and to meet and discuss the case with Mr. Morrison. As the Court is aware,
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11   the current charges are extremely serious, carrying a 30-year mandatory minimum. The

12   charges also arise from reports of misconduct occurring up to a decade ago. Moreover,
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     due to the nature of the charges, the United States is being cautious with respect to
14
     disclosures of relevant discoverable information. The Court recently granted the parties’
15
16   request for a protection order so that the United States could life some redactions and

17   make the discovery meaningfully reviewable for Mr. Morrison and his counsel. Because
18
     of all of the above-noted issues, Mr. Morrison and his counsel need additional time to
19
     work on the case and to meet and confer with one another. The requested continuance
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21   is reasonable and in the interest of justice.

22          Undersigned counsel has inquired of the Court as to available dates for the
23
     Court’s schedule in light of the requested adjournment, and has discussed proposed
24
     new dates and deadlines with counsel for the government. Mr. Morrison is respectfully
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     requesting a new trial date of February 14, 2022, in Yakima. Mr. Morrison also requests



     Unopposed Motion to Continue Trial and Set New Deadlines: 2
        Case 1:21-cr-02032-SMJ      ECF No. 22     filed 10/07/21   PageID.68 Page 3 of 4




 1   that the pretrial conference be rescheduled to January 19, 2022 at 9:30 a.m., also in
 2   Yakima. Mr. Morrison is submitting a proposed amended case management order with
 3
     new filing deadlines based on the new trial and pretrial conference dates. Mr. Morrison
 4
     has no objection to the Court issuing an amended case management order with different
 5
 6   deadlines as deemed appropriate by the Court if the proposed order is not acceptable.
 7         Mr. Morrison therefore respectfully requests that the Court grant a continuance
 8
     of the trial date for February 14, 2022, and set a new pre-trial conference date of January
 9
     19, 2022 at 9:30 a.m. Mr. Morrison further requests that the Court issue an amended
10
11   case management order with new deadlines, including extending the deadline to file

12   pretrial motions.
13
14
     Dated: October 7, 2021.
15
16
                                                    By s/ Paul E. Shelton
17                                                     Paul E. Shelton, 52337
                                                       Federal Defenders of Eastern
18                                                     Washington and Idaho
                                                       306 East Chestnut Avenue
19                                                     Yakima, Washington 98901
20                                                     (509) 248-8920
                                                       (509) 248-9118 fax
21                                                     Paul_Shelton@fd.org
22
23
24
25




     Unopposed Motion to Continue Trial and Set New Deadlines: 3
        Case 1:21-cr-02032-SMJ      ECF No. 22     filed 10/07/21   PageID.69 Page 4 of 4




 1                                    Certificate of Service

 2
            I hereby certify that on October 7, 2021, I electronically filed the foregoing with
 3
     the Clerk of the Court using the CM/ECF System, which will send notification of such
 4   filing to the following:
 5          Michael D. Murphy, Assistant United States Attorney.
 6
 7                                                 s/ Paul E. Shelton
                                                   Paul E. Shelton
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     Unopposed Motion to Continue Trial and Set New Deadlines: 4
